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10
                                    NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                         )   CASE NO. 20-CR-00249 RS
                                                       )
14           Plaintiff,                                )
                                                       )   ORDER EXCLUDING TIME FROM
15      v.                                             )   JANUARY 5, 2021 TO MARCH 9, 2021
                                                       )   UNDER THE SPEEDY TRIAL ACT
16   ROWLAND MARCUS ANDRADE,                           )
                                                       )
17           Defendant.                                )
                                                       )
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19           On January 5, 2021, the defendant Roland Marcus Andrade, represented by counsel, and the
20 United States, through counsel, appeared before the Court for a status conference in the above pending

21 criminal action. At the request of the parties, the Court continued the matter to March 9, 2021, at 2:30

22 p.m., for a further status conference. The parties also requested that the Court exclude time from the

23 computation of the Speedy Trial Act from January 5, 2021 to March 9, 2021.

24           Pursuant to the agreement of the parties, and for good cause, the Court finds it is appropriate to
25 exclude time from the computation of the Speedy Trial Act deadlines. Based on the representations of

26 counsel at the status conference, including regarding the anticipated production of further discovery, the

27 Court finds that an exclusion of time is necessary to permit adequate preparation of counsel. Failure to

28 grant an exclusion of time and a continuance of the matter would deny counsel the reasonable time

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 1 necessary for effective preparation, taking into account the exercise of due diligence, pursuant to 18

 2 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the time

 3 from computation under the Speedy Trial Act outweigh the best interests of the public and the defendant

 4 in a speedy trial.

 5          Therefore, IT IS HEREBY ORDERED that the time between and including January 5, 2021 to

 6 March 9, 2021 shall be excluded from computation under the Speedy Trial Act, pursuant to 18 U.S.C. §

 7 3161(h)(7)(A), (B)(ii), and (B)(iv).

 8          IT IS SO ORDERED.

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11 DATED: 1/5/2021
                                                         HONORABLE RICHARD SEEBORG
12                                                       United States District Judge

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